Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 1 of 11 PageID 2962




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 FEDERAL TRADE COMMISSION,

        Plaintiff,

 v.                                             Case No.: 2:20-cv-542-SPC-MRM

 SPM THERMO-SHIELD, INC.,
 PETER J. SPISKA, and GEORGE
 P. SPISKA,

        Defendants.
                                           /

                           PERMANENT INJUNCTION1

        Proceeding on an Amended Complaint for a permanent injunction under

 Section 13(b) of the Federal Trade Commission Act, 15 U.S.C. § 53(b), the Court

 granted the Commission’s Motion for Summary Judgment and request for a

 permanent injunction. (Doc. 69). Pursuant to the Opinion and Order, the

 Court enters this permanent injunction.

                                       FINDINGS

        1. This Court has jurisdiction over this matter.




 1 Disclaimer: Documents hyperlinked to CM/ECF are subject to PACER fees. By using
 hyperlinks, the Court does not endorse, recommend, approve, or guarantee any third parties
 or the services or products they provide, nor does it have any agreements with them. The
 Court is also not responsible for a hyperlink’s availability and functionality, and a failed
 hyperlink does not affect this Order.
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 2 of 11 PageID 2963




       2. The Commission’s Amended Complaint charged that Defendants

 participated in deceptive acts or practices in violation of Section 5 of the FTC

 Act, 15 U.S.C. § 45, in the marketing of architectural coating products which

 they purported were the equivalent of adding insulation with particular R-

 values and would save users up to 50% on heating and cooling costs.

       3. It is the view of this Court, based on the facts and evidence in the

 record and as set forth in its Opinion and Order, that Defendants engaged in

 the deceptive acts and practices charged in the Amended Complaint and that

 injunctive relief is appropriate. Accordingly, the Court has granted summary

 judgment to Plaintiff. (Doc. 69).

                                 DEFINITIONS

       For this Permanent Injunction, the following definitions apply:

    1. “Architectural Coating Product” means any coating marketed for

       application on buildings, including paint, paint with additives (such as

       ceramic spheres), varnishes, and lacquers, and products that incorporate

       such coatings.

    2. “Corporate Defendant” means SPM Thermo-Shield. Inc., and its

       successors and assigns.

    3. “Defendants” means the Individual Defendants and the Corporate

    Defendant, individually, collectively, or in any combination.




                                        2
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 3 of 11 PageID 2964




       4. “Individual Defendants” means Peter J. Spiska and George P.

       Spiska.

          I. PROHIBITION AGAINST MISREPRESENTATIONS

       IT IS ORDERED that Defendants, Defendants’ officers, agents,

 servants, employees, and attorneys, and all other persons who are in active

 concert or participation with any of them, who receive actual notice of this

 Order, in connection with the manufacturing, labeling, advertising, promotion,

 or offering for sale, sale, or distribution of any Architectural Coating Product

 are permanently restrained and enjoined from misrepresenting or assisting

 others in misrepresenting, expressly or by implication:

       A. that any Architectural Coating Product has an R-value equivalent to

          or substantially similar to the R-value of any other product or system,

          or provide the equivalent of adding insulation with any specific R-

          value;

       B. that any Architectural Coating Product provides energy savings, or

          any particular amount of energy savings; or

       C. the      existence,   contents,       validity,   results,   conclusions,   or

          interpretations of any test or study.

       II. PROHIBITION AGAINST UNSUBSTANTIATED CLAIMS

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers,

 agents, servants, employees, and attorneys, and all other persons who are in


                                            3
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 4 of 11 PageID 2965




 active concert or participation with any of them, who receive actual notice of

 this Order, in connection with the manufacturing, labeling, advertising,

 promotion, or offering for sale, sale, or distribution of any Architectural

 Coating Product are permanently restrained and enjoined from making any

 representation, expressly or by implication:

       A. that Defendants’ Architectural Coating Product is equivalent to or

          substantially similar to the R-value of any other product or system,

          or provide the equivalent of adding insulation with any specific R-

          value; or

       B. that Defendants’ Architectural Coating Product will provide energy

          savings, or any particular amount of energy savings, without a

          disclosure stating, “Energy savings provided by any coating product

          is dependent on and will vary according to several factors, including,

          but not limited to, location, climate, building type, and level of

          construction.”

         III. PROHIBITION AGAINST PROVIDING MEANS AND
                       INSTRUMENTALITIES

       IT IS FURTHER ORDERED that Defendants, Defendants’ officers,

 agents, employees, and attorneys, and all other persons in active concert or

 participation with any of them, who receive actual notice of this Order, whether

 acting directly or indirectly, in connection with the manufacturing, labeling,



                                        4
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 5 of 11 PageID 2966




 advertising, promotion, offering for sale, sale, or distribution of any

 Architectural Coating Product, shall not provide to others the means and

 instrumentalities with which to make, directly or indirectly, expressly or by

 implication, including through the use of endorsements or trade names, any

 false, unsubstantiated, or otherwise misleading representation of material fact

 covered in Sections I and II of this Order.

                       IV. ORDER ACKNOWLEDGMENTS

       IT IS FURTHER ORDERED that Defendants obtain acknowledgments

 of receipt of this Order:

       A. Each Defendant, within 7 days of entry of this Order, must submit to

 the Commission an acknowledgment of receipt of this Order sworn under

 penalty of perjury.

       B. For 5 years after entry of this Order, each Individual Defendant for

 any business that sells or markets Architectural Coating Products for which

 such Defendant, individually or collectively with any other Defendants, is the

 majority owner or controls directly or indirectly, and each Corporate

 Defendant, must deliver a copy of this Order to: (1) all principals, officers,

 directors, and LLC managers and members; and (2) all employees having

 managerial responsibilities for the marketing of Architectural Coating

 Products and all agents and representatives who participate in the marketing

 of Architectural Coating Products. Delivery must occur within 7 days of entry


                                         5
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 6 of 11 PageID 2967




 of this Order for current personnel. For all others, delivery must occur before

 they assume their responsibilities.

       C. From each individual or entity to which a Defendant delivered a copy

 of this Order, that Defendant must obtain, within 30 days, a signed and dated

 acknowledgment of receipt of this Order.

       D. Unless otherwise directed by a Commission representative in writing,

 all submissions to the Commission pursuant to this Order must be emailed to

 DEbrief@ftc.gov or sent by overnight courier (not the U.S. Postal Service) to:

 Associate Director for Enforcement, Bureau of Consumer Protection, Federal

 Trade Commission, 600 Pennsylvania Avenue NW, Washington, DC 20580.

 The subject line must begin: FTC v. SPM Thermo-Shield, Inc., FTC Matter No.

 x200050.

                         V. COMPLIANCE REPORTING

       IT IS FURTHER ORDERED that Defendants make timely submissions

 to the Commission:

       A. Beginning one year from the date of this Order, and then annually for

            10 years, each Defendant must submit a compliance report, sworn

            under penalty of perjury. Each compliance report must include the

            following.

            1. For each compliance report, the Defendant must: (a) identify the

               primary physical, postal, and email address and telephone


                                        6
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 7 of 11 PageID 2968




             number, as designated points of contact, which representatives of

             the Commission may use to communicate with Defendant; (b)

             identify all of Defendant’s businesses that sell or market

             Architectural Coating Products by all of their names, telephone

             numbers, and physical, postal, email, and Internet addresses; (c)

             describe the activities of each such business and the involvement

             of any other Defendant (which Individual Defendants must

             describe if they know or should know due to their own

             involvement);       and   (d)       provide   a   copy     of   each      Order

             Acknowledgment obtained pursuant to this Order, unless

             previously submitted to the Commission.

          2. Additionally, each Individual Defendant must update their contact

             information: (a) identify all telephone numbers and all physical,

             postal, email and Internet addresses, including all residences; (b)

             identify all business activities, including any business for which

             such Defendant performs services whether as an employee or

             otherwise and any entity in which such Defendant has any

             ownership interest; and (c) describe in detail such Defendant’s

             involvement in each such business, including title, role,

             responsibilities,    participation,      authority,      control,   and    any

             ownership.


                                             7
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 8 of 11 PageID 2969




       B. For 10 years after entry of this Order, each Defendant must submit a

          compliance notice, sworn under penalty of perjury, within 14 days of

          any change in the following:

          1. Each Defendant must report any change in: (a) any designated

             point of contact; or (b) the structure of any Corporate Defendant or

             any entity that Defendant has any ownership interest in or

             controls directly or indirectly that may affect compliance

             obligations arising under this Order, including: creation, merger,

             sale, or dissolution of the entity or any subsidiary, parent, or

             affiliate that engages in any acts or practices subject to this Order.

          2. Additionally, each Individual Defendant must report any change

             in: (a) name, including aliases or fictitious name, or residence

             address; or (b) title or role in any business activity, including any

             business for which such Defendant performs services whether as

             an employee or otherwise and any entity in which such Defendant

             has any ownership interest, and identify the name, physical

             address, and any Internet address of the business or entity.

       C. Each Defendant must submit to the Commission notice of the filing of

          any bankruptcy petition, insolvency proceeding, or similar proceeding

          by or against such Defendant within 14 days of its filing.




                                         8
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 9 of 11 PageID 2970




       D. Any submission to the Commission required by this Order to be sworn

            under penalty of perjury must be true and accurate and comply with

            28 U.S.C. § 1746, by concluding: “I declare under penalty of perjury

            under the laws of the United States of America that the foregoing is

            true and correct. Executed on: (date),” signatory’s full name, title (if

            applicable), and signature.

                             VI. RECORDKEEPING

       IT IS FURTHER ORDERED that Defendants must create certain

 records for 10 years after entry of this Order and retain each such record for 5

 years. Specifically, Corporate Defendant and each Individual Defendant for

 any business that sells or markets Architectural Coating Products that such

 Defendant, individually or collectively with any other Defendants, is a majority

 owner or controls directly or indirectly, must create and retain the following

 records:

    A. all consumer complaints and refund requests, whether received directly

       or indirectly, such as through a third party, and any response;

    B. all submissions to the Commission; and

    C. a copy of each unique advertisement or other marketing material.

                       VII. COMPLIANCE MONITORING

       IT IS FURTHER ORDERED that, for the purpose of monitoring

 Defendants’ compliance with this Order:


                                          9
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 10 of 11 PageID 2971




        A. Within 14 days of receipt of a written request from a representative

  of the Commission, each Defendant must: submit additional compliance

  reports or other requested information, which must be sworn under penalty of

  perjury; and produce documents for inspection and copying.

        B. For matters concerning this Order, the Commission is authorized to

  communicate directly with each Defendant. Defendant must permit

  representatives of the Commission to interview any employee or other person

  affiliated with any Defendant who has agreed to such an interview. The person

  interviewed may have counsel present.

        C. The Commission may use all other lawful means, including posing,

  through its representatives as consumers, suppliers, or other individuals or

  entities, to Defendants or any individual or entity affiliated with Defendants,

  without the necessity of identification or prior notice. Nothing in this Order

  limits the Commission’s lawful use of compulsory process, pursuant to Sections

  9 and 20 of the FTC Act, 15 U.S.C. §§ 49, 57b-1.

        D. Upon written request from a representative of the Commission, any

  consumer reporting agency must furnish consumer reports concerning

  Individual Defendants, pursuant to Section 604(1) of the Fair Credit Reporting

  Act, 15 U.S.C. §1681b(a)(1).




                                        10
Case 2:20-cv-00542-SPC-MRM Document 80 Filed 05/31/22 Page 11 of 11 PageID 2972




                   VIII. RETENTION OF JURISDICTION

       The Court will retain jurisdiction over this Permanent Injunction.

       DONE and ORDERED in Fort Myers, Florida on May 31, 2022.




  Copies: All Parties of Record




                                      11
